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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                         ) Case No. 20-12345 (MG)
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor.                     )
                                                               )

       CERTIFICATION OF NO OBJECTION REGARDING (1) TWENTY-EIGHTH
    MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP FOR
      PROFESSIONAL SERVICES RENDERED AND DISBURSEMENTS INCURRED
     AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
      FOR THE PERIOD FROM APRIL 1, 2023 THROUGH APRIL 30, 2023; AND (2)
     THIRTIETH MONTHLY FEE STATEMENT OF BURNS BAIR LLP, AS SPECIAL
       INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
             CREDITORS FOR PROFESSIONAL SERVICES RENDERED
            AND DISBURSEMENTS INCURRED FOR THE PERIOD FROM
                    APRIL 1, 2023 THROUGH APRIL 30, 2023

         Pursuant to 28 U.S.C. § 1746 and Rule 9075-2 of the Local Bankruptcy Rules for the

Southern District of New York (the “Local Rules”) the undersigned counsel for the Official

Committee of Unsecured Creditors (the “Committee”) hereby certifies as follows:

         1.       On November 4, 2020, this Court entered the Order Authorizing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 129] (the

“Interim Compensation Order”),1 which authorized professionals retained pursuant to an order of

this Court in the chapter 11 case to seek interim payment of compensation and reimbursement of

expenses in accordance with the procedures set forth in the Interim Compensation Order.

         2.       On May 31, 2023, the Committee filed the following Monthly Fee Applications:

                      Pachulski Stang Ziehl & Jones LLP (“PSZJ”). Twenty-Eighth Monthly Fee
                       Statement of Pachulski Stang Ziehl & Jones LLP for Professional Services
                       Rendered and Disbursements Incurred as Counsel to the Official Committee
                       of Unsecured Creditors for the Period from April 1, 2023 through April 30,
                       2023 [Docket No. 2125].


1
 Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
Compensation Order.


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                      Burns Bair LLP (“BB”). Thirtieth Monthly Fee Statement of Burns Bair
                       LLP, as Special Insurance Counsel to the Official Committee of Unsecured
                       Creditors for Professional Service Rendered April 1, 2023 through April 30,
                       2023 [Docket No. 2126].


        3.        The Monthly Fee Applications were served on May 31, 2023 [Docket No. 2127].

        4.        The Monthly Fee Applications complied with the requirements set forth in the

Interim Compensation Order.

        5.        Pursuant to the Interim Compensation Order, the Objection Deadline for the

Monthly Fee Applications listed above was June 15, 2023. As of the filing of this certificate,

more than forty-eight (48) hours have elapsed since the Objection Deadline and, to the best of

my knowledge, no responsive pleadings to the Monthly Fee Applications listed above have been

(a) filed with the Court on the docket of the above-captioned chapter 11 case; or (b) served on

the Committee, PSZJ, or BB.

        6.        Pursuant to the Interim Compensation Order, the Debtor is authorized to pay

eighty percent (80%) of the fees and one hundred percent (100%) of the expenses requested in

the Monthly Fee Applications upon filing of this Certificate of No Objection and without the

need for entry of a Court order approving the Monthly Fee Applications.


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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


Dated: June 19, 2023                          PACHULSKI STANG ZIEHL & JONES LLP


                                              /s/ Gillian N. Brown
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                                              Karen B. Dine, Esq.
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                                              Counsel to the Official Committee of Unsecured
                                              Creditors




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